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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                               Chapter 13
         Kenneth T. Warner
                                                     Bankruptcy No. 23-12712-AMC

                             Debtor

                         ORDER DISMISSING CHAPTER 13 CASE

         AND NOW, after notice and hearing, it is ORDERED that the case is DISMISSED.

     IT IS FURTHER ORDERED that any wage order entered in this case is hereby
TERMINATED and the employer shall cease wage withholding immediately.




Date: January 25, 2024
                                              ASHELY M. CHAN
                                              U.S. BANKRUPTCY JUDGE
